                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION



UNITED STATES OF AMERICA            )
                                    )
                                    )
            v.                      )             DOCKET NO. 3:05mj263, 264
                                    )
                                    )
NICOLE JENNIFER EZELIUS             )
COREY LYNN MAXWELL                  )
____________________________________)

                                            ORDER

       UPON CONSIDERATION of the defendant’s Unopposed Joint Motion to Alter Bond

Conditions, the motion is hereby GRANTED. The prohibition against contact is stricken. Nicole

Jennifer Ezelius and Corey Lynn Maxwell may now have contact with one another.

       Copies of this order should be sent to the U.S. Probation office as well as defense counsel,

and the Clerk’s Office.



                                                Signed: December 21, 2006




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